                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA

KEITH C. JOHNSON,
          Plaintiff,
                                               Case Number 3:14-cv-00095-SLG
v.

RLI INSURANCE COMPANY,
          Defendant.                           JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 XX   DECISION BY COURT. This action came to trial or decision
before the Court.   The issues have been tried or determined and a
decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

         THAT the plaintiff recover nothing, the action be dismissed
on the merits, and the defendant RLI Insurance Company recover
costs in the amount of $_________, from the plaintiff Keith C.
Johnson.



APPROVED:

 s/Sharon L. Gleason
 SHARON L. GLEASON
 United States District Judge
 Date: March 1, 2016
 NOTE: Award of prejudgment interest,                 Lesley K. Allen
 costs and attorney's fees are governed               Lesley K. Allen,
 by D.Ak. LR 54.1, 54.3, and 58.1.                     Clerk of Court




[Jmt2 - Basic - rev. 1-13-16}




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